Case 20-10036-CSS Doc50 Filed 02/18/20 Pageiof3

Fill in this information to identify the case:

 

Debtorname Tough Mudder Inc., et al.

United States Bankruptcy Court for the: District of Delaware

 

(State) L] Check if this
Case number (ifknawn): 20-10036 (CSS) is an
amended
filing

Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have
the 20 Largest Unsecured Claims and Are Not Insiders 12/15

 

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an fnsider, as defined in 11 U.S.C. § 104(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 
  
  

 

 

 

 

 

 

 

  
    

: Unsecured

   
   

  

 

 

 

  

 

 

       

Total:claim, if Deduction for
partially _ value. of , claim
secured . collateral or
os : . setoff
nati ‘Arnall Golden Gregory LLP ‘ . ‘ : '
Active Network, Ee ' cio Frank N, White, Sean Kulka Trade ‘Contingent, : Unknown
7 N Harwood Stree -171 17th Street NW Suite 2100 : ‘Unliquidated,
4 Suite 2500 ‘Atlanta, Georgia 30363-1031 : ‘Disputed
Dallas, TX 75201 ifrank.white@agg.com
: sean.kulka@agg.com
: EventBrite Inc. 1 isa Gorman tori : $637,408.51
2 4 t. igorman@eventbrite.com : :
Q San Francisco, CA 94103 iPhone: (415) 694-7940 ; i
ssn con os = m prnacnenacnnn a ses epeanenason ~p denen anne i este
Alanic international Corporation Johnny@alanic.com Disputed $557,141.60
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‘Beverly Hills, CA 90210
“blumenfeldlaw@amail.com
‘Patty : : eee ,
‘Navy Federal Credit Union atty Valezusta Stover Trade Contingent, . : $250,000.00
- 820 Follin Lane Prober & Raphael, A Law Corparation : ‘Untiaul : :
4, Vienna, VA 22180 clo Lee S. Raphael : Unliquidated
4. 20750 Ventura Boulevard, Suite 100 :
: Woodland Hills, Califomia 91364 : f
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a otc econ Gary Brower : 7 i we wetne
Trademarc Associates inc. trademarcbuilders@qmail.com ‘Trade $241,714.64
5 rt i ;
i Banger PA 1a013 Archer & Greiner, P.C, i
5. , cio Allen G. Kadish
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New York, NY 10017 : i : :
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Malley Builders, LLC shellywatson@valleybldrs.com ‘Trade Disputed $195,310.73
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Eighteenth Floar

‘New York, NY 10019

  

 

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Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims page 1

 
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Name of cre

 

Case 20-10036-CSS Doc50 Filed 02/18/20 Page 2of3

Debtor

Name

 

mailing address,

Tough Mudder Inc., et al.

Case number (if known) 20-10036 (CSS)

 
 
 
 
  
 
 

 

 

 

 

 

 

_ Unsecured
: claim

‘ Deduction for
: value.of
; collateral or

 

 

 

 

David Watkins Homes, Inc.
659 Wexford Drive
Lafayette, IN 47905

Bass, Berry & Sims PLC
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Suite 2800

Nashville, TN 37201

(Grant Thornton LLP

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‘Trade

 

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‘Herc Rentals Inc

fka Hertz Equipment Rental Corporation
:27500 Riverview Center

Bonita Springs, FL 34134

‘Nationwide Logistics, LLC
‘P.O. Box 53485
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PMuxt Mayshee Developing Company
td

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China

 

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jhall@lewisrice.com

 

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48
419

20

‘Speedway Motor Sports, inc.
dba Sonoma Raceway
‘Highways 37 & 121

Sonoma, CA 95476

‘Ernst & Young LLP

200 Plaza Drive
Secaucus, Nd 07094

 

‘Labelium Corp.

80 Broad Street
Suite 1303

‘New York, NY 10004

Gaia, LLC
dba Chattahoochee Hills Eventing

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Dalton, GA 30719

Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims

 

    

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$75,242.99

 

page 2

 

  
Case 20-10036-CSS Doc50 Filed 02/18/20 Page 3of3

Fill in this information to identify the case and this filing:

 

Debtor Name Tough Mudder Inc., et al.

United States Bankruptcy Court for the: District of Delaware

 

Case number (/f known): 20-10036 (State)
soinele Om 202)
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

| and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

O

O
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O
O
O
O
O
XK
No

| declare under penalty of perjury that the foregoing is true and c

Executed on 02/18/2020 od

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F. Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule

 

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Other document that requires a declaration Consolidated List of Creditors Who Have the Largest 20 Unsecured Claims and Are

t Insiders

    

 

MM /DD/YYYY Signature of individual signing on behalf of debtor

Derek C. Abbott

Printed name

 

Chapter 11 Trustee

Position or relationship to debtor _

 

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
